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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
        v.                                           :       Case No.: 21-cr-382 (PLF)
                                                     :
CHRISTOPHER WARNAGIRIS,                              :
                                                     :
                                                     :
             Defendant.                              :

GOVERNMENT’S RESPONSE TO DEFENDANT’S PETITION TO DISCLOSE GRAND
                       JURY MATERIALS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits that this Court should deny Defendant Warnagiris’

motion to disclose grand jury material. The motion is moot as the government has provided grand

jury transcripts and exhibits to Defendant.

       Defendant Warnagiris was indicted on June 2, 2021. ECF No. 8. The transcript from this

indictment has been provided to Defense. On December 1, 2021, a superseding indictment was

filed which fixed language to Counts Four, Five, and Six. ECF No.25. That correction required

additional evidence, not related to the assault, and the transcript has been provided to defense. On

March 22, 2023, a second superseding indictment was filed which corrected language in Count

Three. ECF No. 49. No new evidence was needed therefore there is no transcript. All transcripts

have now been provided to the Defendant.

       Defendant mistakenly asserts that a “year and a half later, the Government has yet to

provide any Grand Jury materials to the defendant.” ECF No. 56 at 1. On July 28, 2021, the

government produced discovery to Defense and memorialized this production in an itemized letter

titled Volume 1.    On December 3, 2021, the government produced more discovery, again



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memorializing this production in an itemized letter titled Volume 2. These productions contained

the evidence used during the original indicting grand jury presentment. The government has

identified, for defense counsel, which grand jury exhibits correspond with the discovery from

Volumes 1 and 2.     The production of Volume 1 also contained materials returned pursuant to

investigating grand jury subpoenas. Accordingly, the government has continuously produced

grand jury material in this matter since July of 2021.

                                                Conclusion

        The government respectfully requests Defense’s motion be denied as moot.               The

government provided grand jury material to the Defendant in 2021 and has provided the

transcripts.




                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052

                                              By: /s/ Rebekah E. Lederer
                                              Rebekah E. Lederer
                                              Pennsylvania Bar No. 320922
                                              Assistant United States Attorney
                                              U.S Attorney’s Office for District of Columbia
                                              601 D St. N.W, Washington, DC 20530
                                              Tel. No. (202) 252-7012
                                              Email: rebekah.lederer@usdoj.gov




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